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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 (TAMPA DIVISION)

IN RE:                                         )
                                               )         CASE NO. 20-03608
CFRA HOLDINGS, LLC,                            )
                                               )         CHAPTER 11
                     DEBTOR.                   )

                                 NOTICE OF COMPLIANCE

         Daniel M. Eliades, of K&L Gates LLP (“Movant”), pursuant to Local Rule 2090-1,

hereby notifies the Court that on May 14, 2020, the Movant paid the Attorney Special Admission

Fee in the amount of $150.00 to the United States District Court for the Middle District of

Florida pursuant to the Order granting Movant’s motion to appear pro hac vice on behalf of

Raymond James Bank, N.A. and Valley National Bank in the above-entitled matter.

         Dated this 19th day of May, 2020.

                                                   /s/ Daniel M. Eliades
                                                   Daniel M. Eliades, Esq.
                                                   (N.J.D.C. NO. DME-6203)
                                                   K&L Gates LLP
                                                   One Newark Center, 10th Floor
                                                   Newark, NJ 07102
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                                                   Daniel.Eliades@klgates.com

                                                   Counsel for Raymond James Bank, N.A. and
                                                   Valley National Bank




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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 19, 2020, a true and correct copy of the foregoing

NOTICE OF COMPLIANCE was served through the CM/ECF system to all registered

CM/ECF recipients.

                                             /s/ Daniel M. Eliades
                                             Daniel M. Eliades, Esq.
                                             (N.J.D.C. NO. DME-6203)
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                                             Valley National Bank




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